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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

JEAN POULARD,                              )
                                           )
              Plaintiff,                   )
                                           )
              v.                           )      No. 2:16 CV 115
                                           )
THE TRUSTEES OF INDIANA                    )
UNIVERSITY, et al.,                        )
                                           )
              Defendants.                  )

                                 OPINION and ORDER

       This matter is before the court sua sponte on the issue of subject matter

jurisdiction. “Jurisdiction is the power to declare law, and without it the federal courts

cannot proceed.” Hay v. Indiana State Bd. of Tax Com’rs, 312 F.3d 876 (7th Cir. 2002)

(internal quotation marks omitted). “Accordingly, not only may the federal courts

police subject matter jurisdiction sua sponte, they must.” Id.

       This case was originally filed by plaintiff in the Circuit Court of Lake County,

Indiana. (DE # 4.) Defendants removed the case to this court pursuant to 28 U.S.C.

§ 1331, the federal question jurisdiction statute. (DE # 1.) However, following the

court’s order on the parties’ motions for summary judgment (DE # 64), no federal

claims remain in the case. Plaintiff’s breach of contract claim is the sole remaining claim.

       Pursuant to 28 U.S.C. § 1367(a), the court originally had supplemental

jurisdiction over the state-law breach of contract claim. But, the supplemental

jurisdiction statute provides that the district court “may decline to exercise

supplemental jurisdiction” over state-law claims if the court “has dismissed all claims
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over which it has original jurisdiction.” 28 U.S.C. § 1367(c)(3). The court has broad

discretion in making this decision. RWJ Mgmt. Co., Inc. v. BP Prods. N. Am., Inc., 672 F.3d

476, 478 (7th Cir. 2012) (“When federal claims drop out of the case, leaving only state-

law claims, the district court has broad discretion to decide whether to keep the case or

relinquish supplemental jurisdiction over the state-law claims.”). Furthermore, there is

a “presumption” that courts will relinquish jurisdiction over supplemental state-law

claims where the federal claims drop out of the case. Id. at 479. “The presumption is

rebuttable, but it should not be lightly abandoned, as it is based on a legitimate and

substantial concern with minimizing federal intrusion into areas of purely state law.” Id.

       The Seventh Circuit has identified three situations that may displace the

presumption, namely:

              (1) the statute of limitations has run on the pendent claim,
              precluding the filing of a separate suit in state court; (2)
              substantial judicial resources have already been committed,
              so that sending the case to another court will cause a
              substantial duplication of effort; or (3) when it is absolutely
              clear how the pendent claims can be decided.

Sharp Elecs. Corp v. Metro. Life Ins. Co., 578 F.3d 505, 514–15 (7th Cir. 2009).

       Regarding the first exception, this suit was originally filed in state court, and was

removed, so the statute of limitations is not an issue. (See DE # 4.)

       Regarding the second exception, the court has devoted few judicial resources to

resolving the breach of contract claim. The court examined the claim for the first time in

its recent order, devoting two pages to the discussion of the claim. (DE # 64 at 15–16.)

As the court discussed in that order, the parties did not submit a signed employment

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contract for the court to examine, and they disputed which clauses were part of the

contract. (See id.) Since the contract itself is in dispute, the court has spent no time

addressing the merits of whether defendants breached the contract.

       Moreover, other than the court’s recent order (DE # 64), the orders issued in this

case pertain to discovery and procedural matters. See RWJ Mgmt. Co., Inc., 672 F.3d at

481 (affirming relinquishment of jurisdiction where “the extensive pretrial activity was

largely attributable to discovery disputes, not the merits of the state-law claims”). The

resources devoted to this case are unlike the efforts expended in Miller Aviation v.

Milwaukee County Board of Supervisors, 273 F.3d 722 (7th Cir. 2001), in which the Seventh

Circuit reversed a district court’s decision to relinquish jurisdiction where the lower

court had held 9 hearings and issued 19 orders, including a 71-page decision. The court

has expended relatively few judicial resources, and therefore, there will be no

substantial duplication of efforts.

       Additionally, the court is not required to retain jurisdiction due to the length of

time this case has been under its jurisdiction. Although this case was filed over two

years ago, the Seventh Circuit has upheld an order relinquishing jurisdiction “just

before trial after five years of discovery.” Olive Can Co., Inc. v. Martin, 906 F.2d 1147,

1153 (7th Cir. 1990). Moreover, the question of whether or not to retain supplemental

jurisdiction did not arise until summary judgment was entered on the federal claims, on

September 28, 2018.




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       For these reasons, the court concludes that the second exception to the

presumption does not apply. This is not a relinquishment that would “clearly

disserve[ ]” judicial economy. See Williams Elecs. Games, Inc. v. Garrity, 479 F. 3d 904, 906

(7th Cir. 2007).

       As to the third exception, the court notes, again, that it has not thoroughly

examined the merits of the state-law claim, and therefore it is not absolutely clear to this

court how the claim will be decided. Therefore, the third exception to the presumption

does not apply.

       For the foregoing reasons, the court DECLINES to exercise supplemental

jurisdiction over plaintiff’s remaining state-law claim. Plaintiff’s remaining claim is

REMANDED back to state court. The Clerk is directed to return the case to the state

court from which it originated.



                                           SO ORDERED.
       Date: November 5, 2018
                                           s/James T. Moody
                                           JUDGE JAMES T. MOODY
                                           UNITED STATES DISTRICT COURT




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